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   2   +XQWLQJWRQ %HDFK &$ 
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   3   MDPLHJDOOLDQ#JPDLOFRP
   4   ,Q3523(5
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   6                             UNITED STATES BANKRUPTCY COURT
   7               CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
   8
                                                                Case No. 8:21-bk-11710-ES
   9
                                                                Chapter 7
  10
       In re:                                                   '(%7256NOTICE OF AND MOTION
  11                                                            FOR RECONSIDERATION OF 7.21.22
  12   JAMIE LYNN GALLIAN,                                      ORDER SUSTAINING  HOUSER BROS.
                                                                CO. '%$ RANCHO DEL REY MOBILE
  13                                                            HOME ESTATES OBJECTION TO
                                                                DEBTOR’S CLAIMED HOMESTEAD
  14                  Debtor.
                                                                EXEMPTION$1'
                                                                -2,1'(53$57,(6+817,1*721
  15
                                                                %($&+*$%/(6+2$-$1,1(-$662
  16
                                                                Hearing Date: $XJXVW , 2022
  17                                                            Time:         10:30 a.m.
                                                                Courtroom: 5A
  18
  19
  20    727+(+2125$%/((5,7+($60,7+$//3$57,(6$1'727+(,5

  21   $77251(<¶62)5(&25'Please take notice of Debtors Motion for Reconsideration

  22   'HEWRUUHVSHFWIXOO\UHTXHVWVUHFRQVLGHUDWLRQRIWKH&RXUWV2UGHU-XlyVXVWDLQLQJ

  23   +RXVHU%URV&RREMHFWLRQWR'HEWRUV&ODLPHG+RPHVWHDGZLWK

  24   DGGLWLRQDO-RLQGHU V7KH+XQWLQJWRQ%HDFK*DEOHV+RPHRZQHUV$VVRFLDWLRQDQG-DQLQH%-DVVR

  25   (VT
  26   7KHSXUSRVHRIEDQNUXSWF\LVWRJLYHGHEWRUVDIUHVKVWDUWE\VKHGGLQJGHEWVWKDWWKH\RZHGEXW

  27   FDQQRWSD\3DUWRIWKHIUHVKVWDUWLQFOXGHVOLHQDYRLGDQFHRQH[HPSWDVVHWV6HH5LFKDUGVRQ

  28   %5DW 'HEWRUZDQWVWRPD[LPL]HWKHDPRXQWRISURSHUW\VKHJHWVWRNHHSWRDYRLG
       DQ\FUHGLWRUFROOHFWLRQHIIRUWVHVSHFLDOO\HIIRUWV t RFROOHFWWKHLUSHUVRQDOUHVLGHQFH

                                                          W1
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          >B2@A6<;.@8@J,6A56;A529.@A F2.?@/23<?2F<B369213<?/.;8?B=A0F161F<B@299A?.12<?

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      WKHKRPHWRDWKLUGSDUW\IRULQFRPHXQWLOVKHZDVRXWIURPXQGHUWKH\UOHDVH,W
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                 56M8C@;:C8@DF=<HL@K89C<<JKFGG<C:FEJ@JKJF=K?<=FCCFN@E><C<D<EKJ
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                 JJLD<=FI8DFD<EKK?<(FM<D9<I  -<:LI@KP>I<<D<EK8E;*IFD@JJFIP
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    I<J@;<E:<
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           I<8CFIG<IJFE8CGIFG<IKPK?8KK?<;<9KFIFI8;<G<E;<EKF=K?<;<9KFI:C8@DJ8J8?FD<JK<8;
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    
          8EBILGK:PGG<CC8K<*8E<C@E#EI<!FJN8D@  , K?@I * K?<(@EK?
    
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   8D<E;D<EKJI<=C<:KJK?<(@EK?@I:L@KJXGI<=<I<E:<=FII<JFCLK@FEFEK?<D<I@KJ 8J8>8@EJKJKI@:K
    8;?<I<E:<KF=FID8C@K@<J YW#; :@K@E>8E;HLFK@E> #EI<E;<IJFET18CB<I#E;LJ #E:  ;

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   
          G<K@K@FE;F:LD<EKJ <OGI<JJCP@E:CL;@E>98EBILGK:PJ:?<;LC<J 8JJK8K<;@E,LC<8E;8J
   
          I<:F>E@Q<;@EK?<:8J<C8N K?<I<;F<JEFK8GG<8IKF9<8EPC<>8C8LK?FI@KPKF8CCFNK?@J:FLIKKF
   
          98I8EP=LIK?<I8D<E;D<EKJ9PK?<<9KFIF=?@JJ:?<;LC<J 
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   *C8EE<;/E@KFDDLE@KP8J;<=@E<;@E@M@CF;<R CF:8K<;8KC;<IGFIKI@M</E@K
    "LEK@E>KFE<8:? V/(#.W8JF='8I:?  V/E@KW

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                              C<8J<?FC; FE '8I:?     9P N8P F= 8E JJ@>ED<EK I<:FI;<; @E K?<
  
                                  )==@:@8C ,<:FI;J F= K?< FLEKP F= )I8E>< 8J F:LD<EK (LD9<I 
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                                   N?@:?N8JV!@=K<;WKF!&&#(9P!8CC@8EJGI<;<:<JJFI8E;
  
                                  :F ;<=<E;8EK ?<IJK<G DFK?<I -8E;I8&I8;C<PV,&3W
   
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                             9    !&&#(JFC;?<I@EK<I<JKJ@E?<IJ<G8I8K<GIFG<IKP /E@K KF,8E;8CC&
    
                                (@:B<CFE):KF9<I  9PN8PF=8!I8EK<<;8E;JJ@>ED<EKF=

                                FE;FD@E@LD-L9C<8J<I<:FI;<;@EK?<)==@:@8CC<IB,<:FI;JF=K?<FLEKP

                               F=)I8E><8JF:LD<EK(LD9<I 
                      P M@IKL< F= !&&#(Y- !IFLE; C<8J<?FC; 8E; -L9 FE;FD@E@LD &<8J<?FC;
    
          !&&#( N8J 8E FNE<I F= J<G8I8K< @EK<I<JK :FLGC<; N@K? 8E LE;@M@;<;G<I:<EK8>< @EK<I<JK @E
     
          :FDDFEN@K?8CCFNE<IJF=J<G8I8K<@EK<I<JK8E;8'<D9<IJ?@G@EK?<--)#.#)( 8J;<=@E<;
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          9P@M@CF;<J<:K@FE JL9A<:KKFK?<!FM<IE@E>F:LD<EKJF=K?<--)#.#)( 8J;<=@E<;
     
   9P@M@CF;<J<:K@FE @E:CL;@E>9LKEFKC@D@K<;KF
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                                    )==@:@8C,<:FI;JF=C<IB,<:FI;<I FLEKPF=)I8E><
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                        9    !+<>3+6 +8-/66+>398 90 #?,6/+=/ I<:FI;<; FE (FM<D9<I     FFB
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   
                             K?<FE;FD@E@LD-L9C<8J<<==<:K@M<$8EL8IP  I<:FI;<;@EK?<)==@:<
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   
                          90"/7+38./<8>/</=>;8K<;(FM<D9<I  I<:FI;<;@EK?<)I8E><

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  
                             98.97383?7#?,6/+=/#29<>9<7D/79<+8.?7+8.<+8>//.
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                            >    .?< <>3-6/= 90 8-9<:9<+>398 F= K?< "LEK@E>KFE <8:? !89C<J
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                               "FD<FNE<IJJJF:@8K@FE I<:FI;<;N@K?K?<8C@=FIE@8-<:I<K8IPF=-K8K<

                               '8P 

                         ?    $2/C6+A=90>2/?8>381>98/+-2+,6/=VPC8NJW<O<:LK<;'8P
                                
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                 <9KFII<J@;<J@E8D8EL=8:KLI<;?FD<N?@:?J?<=@C<;8<:C8I<;"FD<JK<8;
     
          O<DGK@FE8E;9<C@<M<JJ?<GLI:?8J<;?<I:LII<EKI<J@;<E:<N@K?<O<DGK=LE;J :C8@D<;8J
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   <O<DGK 
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    8E;?8J9<<EG8P@E>GIFG<IKPK8O<J=FIFM<IP<8IJFEC8E;K?8KJ?<8CJFG8PJ>IFLE;C<8J<
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   
          ?FD<@E?<IE8D<FE <9IL8IP 8=K<I8D8E;8KFIPJ<KKC<D<EK:FE=<I<E:<N@K?"FLJ<I
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          IFJFK?<D8E8><D<EK:FDG8EP=FI,8E:?F<C,<P 
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     ,@M<IJ@;< @E=8:KK?<G<K@K@FE<IJ;F:LD<EKJ8I<JK8DG<;(FM<D9<I  N?@:?@E:CL;<;K?<

   JLII<E;<I<;<IK@=@:8K<F=.@KC<8E;,<C<8J<F=.@KC<;8K<;(FM<D9<I  <O<:LK<;LE;<I
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          LJKFD0@CC8D8EL=8:KLI<;?FD< 
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  
          :FEK<DGC8K<;K?8K&@J8,P8E?8;DFEK?J FILEK@C <9IL8IP  KFJ<CC?<I?FD<@EGC8:< 
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   ,P8EN8JDFM@E>FLKF=?<I?FD<8E;8E<NFNE<INFLC;GLI:?8J<K?<?FD<8E;:FDGC<K<K?<
    I<HL@I<;I<J@;<E:PI<HL@I<D<EKJ ,P8EJFC;?<I?FD<;8PJ8=K<IK?<-K@GLC8K<;$L;>D<EKN8J
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          8>I<<;KF9PK?<G8IK@<J8E;9<:8D<8E)I;<IF=K?<FLIKFE):KF9<I  )- 
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    
               &@J8,P8E -<CC<I J@>E<;8E;<O<:LK<;-K8K<F=8C@=FIE@8 <G8IKD<EKF="FLJ@E>8E;

     FDDLE@KP<M<CFGD<EK().#) -&),.,(- , >8M<EFK@:<KF,8E:?F<C,<P
     K?8KJ?<JFC;K?<-BPC@E<LJKFD0@CC8D8EL=8:KLI<;?FD<FE(FM<D9<I  CF:8K<;

    
          8E;@EJK8CC<;GLIJL8EKKF"<8CK?-8=<KP FE&FK /E@K @E.,. LE;<I8
     
          I<:FI;<;98.97383?7#?,6/+=/+8.<+8>//.#29<>9<7/79<+8.?7I<:FI;<;@E
     
          K?<)==@:@8C,<:FI;JF=K?<C<IB,<:FI;<I=FIK?<FLEKPF=)I8E><8>8@EJK * (   
     
   LE;<I898.97383?7!6+8I<:FI;<;):KF9<I  @EFFB G8>< F=)==@:@8C
    ,<:FI;J8E;9@/8+8>="?88381'3>2$2/+8. <O<:LK<;FE):KF9<I  I<:FI;<;

    (FM<D9<I  @EFFB G8><  F=)==@:@8C,<:FI;JF=K?<C<IB,<:FI;<I
    =FIK?<FLEKPF=)I8E><8>8@EJK * (    
   
                 )E(FM<D9<I  8CDFJKKNFN<<BJ8=K<I$8D@<!8CC@8EGLI:?8J<;K?<
   
          -BPC@E<LJKFD0@CC8?FD<=IFD&@J8,P8E 8E;8=K<I&@J8,P8E>8M<(FK@:<F=-8C<FE
   
          (FM<D9<I  "FLJ<IIFJF8KKFIE<P0@M@<EE<CJKFE=@C<;81I@KF=O<:LK@FE@EK?<
   
     E8D<F=&@J8,P8E ;8K<;   N@K?FLK8GGC@:8K@FEKFK?<FLIKFI(FK@:<8E;;<C@M<I<;@K
     KFK?<)I8E><FLEKP-?<I@==FEFI89FLK(FM<D9<I  

            )E(FM<D9<I FM<IN<<BJ8=K<IK?<D8EL=8:KLI<;?FD<N8JGLI:?8J<;9P
   
          $8D@<!8CC@8EFE(FM<D9<I  $8D@<&PEE!8CC@8E;IFM<KF,@M<IJ@;<"8E;I<>@JK<I<;
  
          K?<D8EL=8:KLI<;?FD<@EK?<E8D<F=?<IJFC<D<D9<I&&$ -8E;:8JKC<F&&LEK@C
  
          K?<<8IC@<JKF=J<M<I8CK?@E>J?8GG<E<;
  
                  $8D@<!8CC@8ENFLC;9<8CCFN<;KFK<ID@E8K<K?<K?I<< P<8II<J@;<EK@8CC<8J<J?<
  
   <EK<I<;@EKF=FIK?<GIFG<IKP8K*@EFEI@M<"LEK@E>KFE<8:? FE-<GK<D9<I 
               $8D@<!8CC@8ENFLC;9<8CCFN<;KF@EK<IM<E<@EKFK?<:@M@C8:K@FE"FLJ<IIFJF M
    &@J8,P8E   8E;?8M<K?<1,#.I<:8CC<;8E;K<ID@E8K<;9PFLIK)I;<I 


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                ,<HL<JKJ8E:K@FEJ8>8@EJKK?<"FLJ<IIFJF8KKFIE<P=FI@EK<I=<I@E>N@K?K?<K<IDJF=
    
          K?<GLI:?8J<F=K?<VDOHRIWKHXQHQFXPEHUHG5\DQ)DLOXUH'8EL=8:KLI<;"FD<
    
              ,<HL<JKJJ8E:K@FEJ8>8@EJKK?<"FLJ<IIFJF=FIM@FC8K@E>K?<8M@J-K@IC@E>:K8E;

     K?<-L9;@M@J@FE'8G:K
               @>LI<FLKN?P8.I8:K'8G8E;FE;FD@E@LD*C8EN<I<I<:FI;<;L>LJK8E;
    
          ):KF9<I 8>8@EJK.,. /E@K    &FK&FK 8E;K?< @IJKD<E;D<EKKF
      
          K?<,JI<:FI;<;;8P9<=FI<K?<K<EK8K@M<D8GN8JKF<OG@I<FE   8E;I<:FI;<;
      
          LEC8N=LCCP8=K<I8CI<@JJL<;K?<V1?@K<,<GFIKWN8J@ED@;$LCP=FIV.,.W         
      
    'FI<@DGFIK8EKCP;<K<ID@E<K?<C<>8C@KPF=V@I -G8:<FE;FD@E@LDJWFEC<8J<;C8E;@E
    M@FC8K@FEF=IK@:C<8E;"LEK@E>KFE<8:?-L9;@M@J@FE'8G)I;@E8E:<J

            ,<HL<JKK?<.8OJJ<JJFII<=LE;8GGIFO@D8K<CPP<8IJF=FM<IG8PD<EKF=K8O<J=FI
    K?<V&8E;W8E;@E8;;@K@FEKFG8P@E>K?<GIFG<IKPK8O<J G8PD<EKJD8;<=FIV@I -G8:<
   
          JL9:FE;FD@E@LDFEC<8J<;C8E; 8CJFG8PD<EKJD8;<8>8@EJK8>IFLE;C<8J<9@CC=FIP<8IJ 
   
                 <:8LJ<GIFG<IKPF=K?<<JK8K<@E:CL;<JFECPK?<;<9KFIYJ@EK<I<JK@EK?<&& 8E;EFKK?<
   
          D8EL=8:KLI<;?FD<FNE<;9PK?<&& <9KFIYJ:C8@DF=<O<DGK@FE@J8LK?FI@Q<;LE;<IK?<
   
     C8N9<:8LJ<@K@J;<9KFIYJGI@D8IPI<J@;<E:<8E;?8J9<<EJ@E:<;<9KFIGLI:?8J<;K?<?FD<FE
     (FM<D9<I  N@K?K?<=LE;JF=?<IGI<M@FLJ?FD<JK<8;;@J:CFJ<;FE?<I@E@K@8C:?8GK<I

   G<K@K@FE ) 
   
                  LIK?<I K?<I<@J8-<:LI@KP>I<<D<EK8E;*IFD@JJFIP(FK<8>8@EJKK?<
  
          D8EL=8:KLI<;?FD<G<I=<:K<;   FEK?<=8:<F=K?<<IK@=@:8K<F=.@KC<KFK?<
  
          D8EL=8:KLI<;?FD<?<C;9P$ *8; && 
  
                 ,<>@JK<I@E>K@KC<KFK?<D8EL=8:KLI<;?FD<KFFE<&&8E;JL9A<:K@E>@KJM8CL<KF8
  
   G<I=<:K<;C@<E?<C;9P8EFK?<I&&;F<JEFKGI<M<EK;<9KFI=IFD:C8@D@E>8?FD<JK<8;
    <O<DGK@FE@E?<IG<IJFE8CI<J@;<E:< 
   


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    
              ""
    
                  )E$LCP V*<K@K@FE8K<W $8D@<&PEE!8CC@8EV<9KFIW=@C<;8MFCLEK8IP
    
          G<K@K@FELE;<I?8GK<IF=.@KC<F=K?</E@K<;-K8K<JF;< )EK?<J8D<;8K< 'J !8CC@8E
    
          =@C<;?<I@E@K@8C-:?<;LC<J8E;-K8K<D<EKJV)I@>@E8C-:?<;LC<JW KIL<8E;:FII<:K:FGPF=K?<
    
          )I@>@E8C-:?<;LC<J@J8KK8:?<;KFK?<<:C8I8K@FEF=$8D@<&PEE!8CC@8EV!8CC@8E<:C8I8K@FEW
     
                 KK?<@EJK8EKF=K?<:FDD<E:<D<EKF=898EBILGK:P:8J< 8E8LKFD8K@:JK8P:FD<J@EKF

      <==<:K8J8D8KK<IF=C8N / -  R8 .?<@E@K@8CD<<K@E>F=:I<;@KFIJN8J?<C;
   L>LJK  :FEK@EL<;8GGIFO@D8K<CPE@E<K@D<J 
   
                  KK?<L>LJK  '<<K@E>F=I<;@KFIJ <9KFI@E=FID<;K?<.ILJK<<$<==I<P
   
          !FC;<E8E;K?<#EK<I<JK<;*8IK@<JGI<J<EK E8D<CP"FLJ<IIFJF8E;$8E@E<$8JJF JH 8E;
   
          "LEK@E>KFE<8:?!89C<J"FD<FNE<IJJJF:@8K@FEK?8K<9KFI9<C@<M<;?<IG<K@K@FEN8J
   

    @E8::LI8K<8E;J?<NFLC;9<8D<E;@E>?<IG<K@K@FE:FE:<IE@E>J<M<I8C8I<8JFE<K?8KK?<
    ,<>@JK<I<;)NE<IF=K?<'8EL=8:KLI<;"FD<8JF=K?<;8K<K?<*<K@K@FEN8J=@C<;8E;K?8K
     ;<9KFII<:<@M<;=IFD"8.@KC<-<8I:?;8K<;$LCP  N?@:?I<=C<:K<;$8D@<&PEE
     !8CC@8E8JK?<,<>@JK<I<;)NE<IG<I=<:K<;   ?FN<M<I$ *8; &&  G<I=<:K<;
   
          <IK@=@:8K<F=.@KC<N8JD@JK8B<ECPI<DFM<;N?<E@KN8JFECPI<HL<JK<;'I *@<IGFEK   
  
          E:LD9I8E:<9<I<DFM<; 
   
                  ",@M<IJ@;<'8E8><I 'J -PCM@8ILQJGFB<KF;<9KFI@EJKIL:K<;;<9KFIN?<EJ?<
  
   I<:<@M<;K?<)I@>@E8C<IK@=@:8K<F=.@KC<=IFD-8:I8D<EKF@EK?</-'8@C N?@:?;<9KFI;@;
   I<:<@M<8GGIFO@D8K<CPL>LJK  KFK8B<K?<=FIDK?8KN8JGI@EK<;L>LJK  KF"
   @E,@M<IJ@;<KF:FII<:K8E;I< 8;;$ *8; &&  8JK?<&<>8C)NE<I98:BKFK?<
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          <IK@=@:8K<F=.@KC< 
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                  <9KFIN8J@E=FID<;8KK?<,@M<IJ@;<F==@:<J?<NFLC;?8M<KFG8P8J<:FE;=<<F=
    
     8GGIFO@D8K<CP KF",@M<IJ@;<KF:FII<:KK?<<IIFIN?@:?N8JD8;<9PK?<
     -8:I8D<EKF,<>@JKI8K@FE8E;.@KC@E><G8IKD<EK8KK?<9<>@EE@E>F=$LCP <9KFIG8@;
      9P8E8JJ@>E<;.(ELD9<I8GGIFO@D8K<CP$LCP  8E;8>8@EFEFI89FLKL>LJK
       8K",@M<IJ@;<LJ@E>8E.':8I;KFD8B<K?<:FII<:K@FEFEL>LJK 

    
          I<=C<:K<;FEK?<.@KC<-<8I:?;8K<;L>LJK GIFM@;<;9P<D8@CKF;<9KFI9P"
     
          ,@M<IJ@;<.<:?E@:@8E-8I@E8GIFM@;<;KFK?<.ILJK<< 
     
                  )EK?<G<K@K@FE;8K<$LCP  K?<I<>@JK<I<;K@KC<FNE<IF=K?<D8EL=8:KLI<;?FD<
     
   CF:8K<;8K'FEK<I<P&8E< /E@K "LEK@E>KFE<8:? V*IFG<IKPWN8J
    $8D@<&PEE!8CC@8E8JF= <9IL8IP  K?<;8K<$ -8E;:8JKC<F&&J@>E<;8E;;8K<;KF

    I<C<8J<K?<<IK@=@:8K<F=.@KC<KF$8D@<&PEE!8CC@8E EFK8I@Q<;K?<J8D<;8K< 
   
                  $ -8E;:8JKC<F &&V$ -8E;:8JKC<&&WN8JJL9A<:KKFG<I=<:K<;/ =@C@E>
   
             JLGGFIK<;9P8-<:LI@KP#EJKILD<EK8E;*IFD@JJFIP(FK<;8K<;(FM<D9<I  
   
          <O<:LK<;8K<EKI8C$LJK@:<<EK<I9<KN<<E$ -8E;:8JKC<F&& $8D@<&PEE!8CC@8E '<D9<I
   
          8E;$8D@<&PEE!8CC@8E &<E;<I8E;$ *8; && @KYJ'8E8><I8E;K?<?FC;<IF=K?<(FK<N@K?
   
     8CCC<>8CFNE<IJ $ *8; &&G<I=<:K<;LE;<I<IK@=@:8K<F=.@KC<V).WLE;<IK?<C8NJF=K?<
     -K8K<F=8C@=FIE@8 

              <9KFIYJ-:?<;LC<J=LIK?<II<=C<:KK?8KJ?<K?<JFC<FNE<IF=$ -8E;:8JKC<&& <:8LJ<
   
          K?<&&N8JC@JK<;8JK?<I<>@JK<I<;FNE<IF=K?<D8EL=8:KLI<;?FD<FEK?<*<K@K@FE8K< K?<
  
          ;<9KFI;@J:CFJ<;K?<E8D<F=K?<&&FEK?<;<9KFIYJG<K@K@FE8E;;@J:CFJ<;FE-:?<;LC<J?<
  
          ?8;8E@EK<I<JK@EK?<GIFG<IKP 
  
              <9KFII<J@;<J@EK?<?FD<8E;@K@J;<9KFIJ?FD<8E;GIFG<IKPF=;<9KFIYJJK8K< <9KFI

   @J<EK@KC<;KF8?FD<JK<8;<O<DGK@FE 
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          $<+8=0/<<381B/7:>!<9:/<>C+C9>,/+<+?.?6/8>$<+8=0/<%8./<+6309<83++A
    
               <9KFIN8EKJKFD8O@D@Q<K?<8DFLEKF=GIFG<IKPJ?<><KJKFB<<G KF8MF@; 8EP:I<;@KFI

     :FCC<:K@FE<==FIKJ <JG<:@8CCP<==FIKJKF:FCC<:K?<IG<IJFE8CI<J@;<E:< 
    
                 8C@=FIE@8C8NJ:I<8K<8JG<:@=@: JK8KLKFIP<O:CLJ@FE=IFD=I8L;LC<EKKI8EJ=<I:C8@DJ=FI
    

     GIFG<IKPK?8K?8JEF<HL@KP9<PFE;8E<O<DGK@FE @E:CL;@E>KI8EJ=<II@E>8G<IJFE8CI<J@;<E:<
      JL9A<:KKF8C@=FIE@8YJ?FD<JK<8;<O<DGK@FE -L:?KI8EJ=<IJD8P9<<EK@I<CP<O<DGK=IFD8E
      8KK8:B8J8=I8L;LC<EKKI8EJ=<I@E8C@=FIE@8:FLIK 8CJFBEFNE8J=I8L;LC<EK:FEM<P8E:< FI
     
          MF@;89C<KI8EJ8:K@FE 
  
           $2/+81?+1/90+6309<83+G=%8309<7&93.+,6/$<+8=+->398=->B-6?./=B/7:>
   
                 !<9:/<>C8-6?.381+!/<=98+6"/=3./8-/#?,4/->>9+97/=>/+.  
   
             /E;<IK?<8C@=FIE@8/E@=FID0F@;89C<.I8EJ8:K@FEJ:K/0. :I<;@KFIJ:8E8KK8:B8J
    8E8:KL8CCP=I8L;LC<EKKI8EJ=<I8V><+8=0/<WD8;<V1@K?8:KL8C@EK<EKKF?@E;<I ;<C8P FI;<=I8L;
   
          8EP:I<;@KFIF=K?<;<9KFIWFIV1@K?FLKI<:<@M@E>8I<8JFE89CP<HL@M8C<EKM8CL<@E<O:?8E><=FI
   
          K?<KI8EJ=<IFIF9C@>8K@FES W8C@=FIE@8@M@CF;<R  I<;@KFIJ:8E8CJFJ<<BKF8MF@;
   
          8J8:FEJKIL:K@M<CP=I8L;LC<EKKI8EJ=<I8EPV><+8=0/<WD8;<VN@K?FLKI<:<@M@E>8I<8JFE89CP
   

   <HL@M8C<EKM8CL<@E<O:?8E><=FIK?<KI8EJ=<IFIF9C@>8K@FE8E;K?<;<9KFIN8J@EJFCM<EK8KK?8K
    K@D<FIK?<;<9KFI9<:8D<@EJFCM<EK8J8I<JLCKF=K?<KI8EJ=<IFIF9C@>8K@FE W8C@=FIE@8@M@C

   F;<R  
  
                 #EKLIE K?<;<=@E@K@FEJLE;<IK?<8C@=FIE@8/E@=FID0F@;89C<.I8EJ8:K@FEJ:KGIFM@;<J
  
   K?8KVX$<+8=0/<XD<8EJ<M<IPDF;< ;@I<:KFI@E;@I<:K 89JFCLK<FI:FE;@K@FE8C MFCLEK8IPFI
   @EMFCLEK8IP F=;@JGFJ@E>F=FIG8IK@E>N@K?8E8JJ<KFI8E@EK<I<JK@E8E8JJ<K 8E;@E:CL;<J
    G8PD<EKF=DFE<P I<C<8J< C<8J< C@:<EJ< 8E;:I<8K@FEF=8C@<EFIFK?<I<E:LD9I8E:< W
   
          8C@=FIE@8@M@CF;<R
                                      D 

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          <=@E@K@FEJLE;<IK?<8C@=FIE@8/E@=FID0F@;89C<.I8EJ8:K@FEJ:K8CJFGIFM@;<K?8KVXJJ<KY
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     D<8EJ:<9:/<>CF=8;<9KFI 9LKK?<K<ID.9/=89>38-6?./K?<=FCCFN@E>
    
                  *IFG<IKPKFK?<<OK<EK@K@J<E:LD9<I<;9P8M8C@;C@<E
    
                  *IFG<IKPKFK?<<OK<EK@K@J><E<I8CCP<O<DGKLE;<IEFE98EBILGK:PC8NE8C@=FIE@8
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          @M@CF;< R 8 
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      JL9A<:KKF8:C8@DK?8KF=9<@E>8=I8L;LC<EKKI8EJ=<I .?@J<O<DGK@FE?8J9<<E<OGC8@E<;9PFE<
   8C@=FIE@8:FLIK@E VK?<58C@=FIE@86/0.;<=@E<J8E8JJ<K8JK?<XGIFG<IKPF=8;<9KFI Y
   
          <O:CL;@E>GIFG<IKPXKFK?<<OK<EK@K@J<E:LD9<I<;9P8M8C@;C@<E5 6Y8E;XKFK?<<OK<EK@K@J
   
          ><E<I8CCP<O<DGKLE;<IEFE98EBILGK:PC8N Y58C@=FIE@8@M@CF;<6R  JL9; 8 
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          JEFK<;9PK?<&<>@JC8K@M<FDD@KK<<FDD<EKJ K?<;<=@E@K@FEF=8JJ<KXI<HL@I<J8
   

    ;<K<ID@E8K@FEK?8KK?<GIFG<IKP@JJL9A<:KKF<E=FI:<D<EKF=8DFE<PAL;>D<EK 
   
                 /E;<I#/->398         90>2/9./903@36!<9-/.?</ GIFG<IKP>2+>)3=89>*JL9A<:KKF
   
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          @EK<EKKF;<=I8L;8:I<;@KFIEFK?8M@E>8C@<ELGFEK?<GI<D@J<J =FI8:I<;@KFI@JEFK<EK@KC<;KF
  
   :FDGC8@EF=K?<KI8EJ=<I9PK?<;<9KFIF=8E8JJ<KN?@:??<:FLC;EFK?8M<I<8:?<; ?8;K?<
   ;<9KFII<K8@E<;@K #=K?<?FD<JK<8;@JM8C@; EF8KK<DGK<;;@JGFJ@K@FEFI:FEM<P8E:<F=K?<
    GIFG<IKP ?FN<M<I=I8L;LC<EK @EALI<JK?<:I<;@KFI  FIJL:?8:K C<8M<JK?<:I<;@KFI@EK?<J8D<
   
          GFJ@K@FE@EN?@:??<NFLC;?8M<9<<E9<=FI<@KN8J;FE<
                                                                 

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                   <9KFIYJ8KK<DGKKF;<=<8K?<I:I<;@KFIJ@JEFK:FDD<E;89C< JL:?:FE;L:KE<@K?<I
    
          <EC8I><JGC8@EK@==YJI@>?KJ EFI>@M<J?@D9<E<=@KJ8JGLE@J?D<EKF=;<9KFI #EJL:?:@I:LDJK8E:<J
    
     K?<;<=<E;8EKYJDFK@M<J8I<@DD8K<I@8C W 22.-$5.5 18C GG K? 
     HLFK@E>//$-'$(,5..#+$88C GG ;  
    
                    V$'13 2'55$'13 2'8C GG K? 6I@>?KCP8==@ID<;K?<CFE>JK8E;@E>
    
          GI@E:@GC<K?8K@EALIP @E =8:K@J8E<JJ<EK@8C<C<D<EKF=8:C8@DLE;<IK?</ .5/E@=FID
     
             I8L;LC<EK.I8EJ=<I:K6 8E;N<=FCCFNK?8KGI@E:@GC<@EK?<GI<J<EK:8J< :I<;@KFI?8JEFK

      9<<E@EALI<;LEC<JJK?<KI8EJ=<IGLKJ9<PFE;I<8:?GIFG<IKPK?<:I<;@KFI  
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           
   
                .?<(#$+(38:FLIK:FEK@EL<;K?8KV,8K?<I N<I<@K<I8K<8E;8;FGKK?<=FCCFN@E>C8E>L8><

    F=K?<$'13 2'FG@E@FEXM<E8JJLD@E>K?<8CC<><;CP=I8L;LC<EK:FEM<P8E:<N<I<J<K8J@;<8E;

    K?<GIFG<IKPN<I<?PGFK?<K@:8CCP8M8@C89C<KF<E=FI:<K?<GC8@EK@==YJDFE<PAL;>D<EK @K:FLC;EFK
   
          9<JFC;N@K?FLK8:FLIKFI;<I9<:8LJ<@K@JK?<5;<9KFIYJ;N<CC@E>6 8E;:FLC;EFK9<JFC;N@K?FLK
   
          8D@E@DLD9@;<HL8CKF58CC6<E:LD9I8E:<J8E;J<E@FIC@<EJ5GCLJ6K?<?FD<JK<8;<O<DGK@FE 
   
          .?<GC8@EK@==GIF;L:<;EF<M@;<E:<K?8KK?<M8CL<F=K?<GIFG<IKP:FLC;JLGGFIK8EPE<KI<:FM<IP
   

   =FI?<I@EK?<<M<EKK?<:FEM<P8E:<N<I<J<K8J@;< Y$'13 2' 24/1 8C GG K?8KG  
    .?<<M@;<E:<8KKI@8CJ?FN<;K?8K(#$+(38:FLC;EFK?8M<F9K8@E<;8EPE<KI<:FM<IP@=K?<KI8EJ=<I

   N<I<J<K8J@;<8E;8=FI:<;J8C<F=K?<GIFG<IKPN8JJFL>?K W(#$+(38 3(.- +(3+$-2 .5
   "'1.$#$18C GG K?  
  
                ELD9<IF=J<:FE;8IPJFLI:<J?8M<8CJF;@J:LJJ<;K?@JI<HL@I<D<EKF=8EF=8EV@EALIPW

   KF:I<;@KFII<HL@I<;KF8KK8:B8KI8EJ=<I8J=I8L;LC<EKLE;<I8C@=FIE@8C8N $$$04(1$,$-3.%
   
          -)4183. 1$#(3.1 1@KB@E 8C *IF: K?E=$L;>DR8C $LI ;I<;@KFIJY
   
          ,@>?KJ8E;,<D<;@<JRV:I<;@KFI5?8JEFK69<<E@EALI<;LEC<JJK?<KI8EJ=<IGLKJ9<PFE;
          

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          K?<:I<;@KFIYJI<8:?GIFG<IKPK?8K?<FIJ?<FK?<IN@J<NFLC;9<89C<KFJL9A<:KKFK?<G8PD<EKF=
    
     ?@JFI?<IFI?<I;<9KW*I<C8NJL@KFEJ@;<I8K@FEJ 8C *I8: !L@;<E= $ <9K,LKK<I
     !IFLG?    V$'13 2'5$'13 2'K?  ,; 
     UI<8CGIFG<IKP:FEM<P8E:<EFK=I8L;LC<EKN?<I<GC8@EK@==EFK@EALI<;EF<M@;<E:<K?8KM8CL<
     F=GIFG<IKP:FLC;JLGGFIKE<KI<:FM<IPN@K?DFIK>8><J J<E@FIC@<EJ8E;?FD<JK<8;<O<DGK@FEW 

    
            $<+8=0/<<381+97/A3>29;?3>C+C,/B-6?./.0<97+6309<83+G=<+?.?6/8>
                                             $<+8=0/<+A=
     
                 .?<C8N@JK?8KVKI8EJ=<I@E=I8L;F=:I<;@KFIJD8P9<8KK8:B<;FECP9PFE<N?F@J
     
          @EALI<;9PK?<KI8EJ=<I :I<;@KFI5;F<JEFK6JLJK8@E@EALIPLEC<JJK?<KI8EJ=<IGLKJ9<PFE;?@J
  
    I<8:?GIFG<IKPN?@:??<FK?<IN@J<NFLC;9<89C<KFJL9A<:KKFK?<G8PD<EKF=?@J;<9K W 2*(-2

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   
          $8JJF 5NFLC;EFK6?8M<9<E<=@K<;=IFD:FCC<:K@E>FE8;<9KFIYJGIFG<IKPN@K?EF<HL@KP 
   
          KI8EJ=<II@E>JL:?GIFG<IKPJ?FLC;><E<I8CCPEFK9<:FEJ@;<I<;8=I8L;LC<EK:FEM<P8E:< 
   
              *I@FI@KP:C8@DJ8I<G8@;8?<8;F=><E<I8CLEJ<:LI<;:I<;@KFIJ9LKD8PEFK9<G8@;FLKF=

     <E:LD9<I<;8JJ<KJ89J<EKJ<:LI<;:I<;@KFI:FEJ<EKFI8GGC@:8K@FEF=R: $$1 5$+'$ 
     1(&'33#5     -*.%$6 -&+ -#-1$$6 -&+ -#        1/$3 .  ; ;
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               FI8CCF=K?<89FM<I<8JFEJ <9KFII<JG<:K=LCCPI<HL<JKJK?@JFLIK;<EPK?<'FK@FE9P

   "FLJ<IIFJF "LEK@E>KFE<8:?!89C<J"FD<FNE<IJJJF:@8K@FE8E;$8E@E<$8JJF JH 8CC
   @EK<I<JK<;G8IK@<JF9A<:K@E>KF;<9KFIJ:C8@D<;?FD<JK<8;<O<DGK@FE 
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                 #;<:C8I<LE;<IG<E8CKPF=G<IALIPF=K?<C8NJF=K?<-K8K<F=8C@=FIE@8K?<=FI<>F@E>KF
    
          9<KIL<8E;:FII<:KKFK?<9<JKF=DP89@C@KPLQIRUPDWLRQ8E;9<C@<= 
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          -@>E<;-XO\WK 8K"LEK@E>KFE<8:? FLEKPF=)I8E><
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                      Tax Map                        4476 Alderport Dr #53, Huntington Beach, CA 92649




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                                   Property Profile                                                                                                       , , CA
          Property Information
          Owner(s):               Hold , Parcel                                              Mailing Address:           ,,
          Owner Phone:            Unknown                                                    Property Address:          , , CA
          Vesting Type:           N/A                                                        Alt. APN:
          County:                 Orange                                                     APN:                       178-771-03
          Map Coord:                                                                         Census Tract:
          Lot#:                                                                              Block:
          Subdivision:                                                                       Tract:                     10542
          Legal:                  N Tr 10542 Blk Lot 2 Un Hold

          Property Characteristics
          Use:                                                   Year Built / Eff. :             /                               Sq. Ft. :
          Zoning:                                                Lot Size Ac / Sq Ft:            /                               # of Units:
          Stories:                                               Improvements:                                                   Parking / #:      /
          Gross Area:                                            Garage Area :                                                   Basement Area:

          Sale and Loan Information
          Sale / Rec Date:                                       *$/Sq. Ft.:                                            2nd Mtg.:
          Sale Price:                                            1st Loan:                                              Prior Sale Amt:
          Doc No.:                                               Loan Type:                                             Prior Sale Date:
          Doc Type:                                              Transfer Date:                                         Prior Doc No.:
          Seller:                                                Lender:                                                Prior Doc Type:
         *$/Sq. Ft. is a calculation of Sale Price divided by Sq. Feet.

          Tax Information
          Imp Value:                                                                     Exemption Type:
          Land Value:                                                                    Tax Year / Area:               2019 / 04-007
          Total Value:                                                                   Tax Value:
          Total Tax Amt:                                                                 Improved:


         Property Profile                               , , CA                                                                                    11/15/2019
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